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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

ROTHSCHILD BROADCAST                §
DISTRIBUTION SYSTEMS, LLC,          §
                                    §
      Plaintiff,                    §               Case No: 1:17-cv-01628-RGA
                                    §
vs.                                 §               PATENT CASE
                                    §
UBIQUITI NETWORKS, INC.             §
                                    §
      Defendant.                    §
___________________________________ §

                      NOTICE OF DISMISSAL WITH PREJUDICE

        Plaintiff Rothschild Broadcast Distribution Systems, LLC hereby files this voluntary
 Notice of Dismissal With Prejudice pursuant to Federal Rule of Civil Procedure
 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed by the
 plaintiff without order of court by filing a notice of dismissal at any time before service by
 the adverse party of an answer. Accordingly, Rothschild Broadcast Distribution Systems,
 LLC voluntarily dismisses this action against Defendant with prejudice pursuant to Rule
 41(a)(1)(A)(i) with each party to bear its own fees and costs.
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March 15, 2018                       STAMOULIS & WEINBLATT LLC

                                      /s/Stamatios Stamoulis
                                     Stamatios Stamoulis
                                     Two Fox Point Centre
                                     6 Denny Road, Suite 307
                                     Wilmington, DE 19809
                                     (302) 999-1540
                                     stamoulis@swdelaw.com

                                     Richard Charles Weinblatt
                                     Stamoulis & Weinblatt LLC
                                     Two Fox Point Centre
                                     6 Denny Road, Suite 307
                                     Wilmington, DE 19809
                                     302-999-1540
                                     Email: weinblatt@swdelaw.com

                                     Attorneys for Plaintiff
